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           11                                   UNITED STATES DISTRICT COURT

           12                                NORTHERN DISTRICT OF CALIFORNIA

           13

           14    ROBERT ROSS,                                      CASE NO. 3:19-CV-06669-LB
           15                          Plaintiff,                  STIPULATION TO EXTEND TIME TO
                                                                   RESPOND TO THE INITIAL COMPLAINT
           16           v.
                                                                   Complaint Served: October 25, 2019
           17    AT&T MOBILITY, LLC,
                                                                   Current Response Date: November 15, 2019
           18                          Defendant.
                                                                   New Response Date: December 6, 2019
           19

           20                STIPULATION TO EXTEND DEFENDANT’S TIME TO RESPOND TO THE

           21                                  PLAINTIFF’S INITIAL COMPLAINT

           22           Pursuant to Local Rule 6-1, Plaintiff Robert Ross (“Ross”) and Defendant AT&T Mobility,

           23    LLC (“AT&T”), by and through their respective counsel of record, stipulate and agree as follows:

           24           WHEREAS, Ross filed the Complaint in this action on October 17, 2019;

           25           WHEREAS, Ross served AT&T with the Summons and Complaint on October 25, 2019;

           26           WHEREAS, the parties have met and conferred regarding AT&T’s deadline to answer or

           27    otherwise respond to the Complaint;

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Crutcher LLP

                                     STIPULATION TO EXTEND TIME TO ANSWER THE COMPLAINT
                        Case 4:19-cv-06669-JST Document 14 Filed 11/05/19 Page 2 of 3


            1           WHEREAS, the parties agree that the deadline for responding to the Complaint should be
            2    extended by 21 days until December 6, 2019;
            3           WHEREAS, the parties have requested no prior extensions, and the stipulation will not affect
            4    any deadlines fixed by the Court;
            5           IT IS HEREBY STIPULATED AND AGREED, by and between Ross and AT&T through
            6    their respective counsel of record that as follows:
            7               1. The current deadline for AT&T to respond to the Complaint shall be extended by 21
            8                   days;
            9               2. AT&T shall be required to file its responsive pleading by December 6, 2019.
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Crutcher LLP                                                           2
                                        STIPULATION TO EXTEND TIME TO ANSWER THE COMPLAINT
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            1    Dated: November 5, 2019
            2                                          MARCELLUS MCRAE
                                                       GIBSON, DUNN & CRUTCHER LLP
            3

            4
                                                       By: /s/ Marcellus McRae
            5                                              Marcellus McRae
            6
                                                       Attorneys for Defendant
            7

            8
                 DATED: November 5, 2019               THOMAS D. WARREN
            9                                          PIERCE BAINBRIDGE BECK PRICE & HECHT LLP
           10

           11                                          By: /s/ Thomas D. Warren
                                                           Thomas D. Warren
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                                                       Attorneys for Plaintiff
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Crutcher LLP                                                3
                                   STIPULATION TO EXTEND TIME TO ANSWER THE COMPLAINT
